Case O:l7-cV-607Ol-BB DocumenHVEn£%§/ck§nsl§MDocket 04/10/2017 Page 1 of 11

JS 44 (Rev 07/16) FLSD Revised 071/01/'2016

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I. (a) PLAINTIFFS DEFENDANTS
TONY CIMM[NO CREDIT ONE BANK
(b) County of Residence of First Listed P\aintiH` Palm Bea°h County of Residence of First Listed Defendant
(E\'CEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTEZ IN LAND CONDEMNATION CASES` USE THE LOCATION OF
THE TRACT OF LAND INVOLVED
(C) Attomeys (Fi)m Name, Address, and Telephone Number) AftOI`l‘l€yS (lfKHDWH)

THE INJURY FIRM - Ross Abramowitz 2000 N.E. 45th Street,
Fort Lauderdale, FL 33308 Tel: 954.846.1899 Email:
c'ecords@fli\§lrl`]uryflrm.com

 

 

 

 

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Cite the U.S. Civil Statute under which_)'cu arc l`\li_rlg and Writc .:l _Bri::f Statement of Cause (Do nat cite jurisdictional statutes unless diversi!y):
VH_ CAUSE ()F ACT}()N 47 U. S.C. §227 [)el'enda nl \-'ml ated thc l (. PA
LENGTH OF TRIAL via days estimated (for both sides to trv entire case)
VIII. REQUESTED IN CHECK IF THls ls A CLAss ACTION
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JURY DEMAND: UYCS g NO

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DATE SIGNATURE OF ATTORNEY OF RECORD

04/ 10 /20 17 s/ Ross Abrarnowitz

FOR OFFICE USE ONLY
RECEIPT # AMOUNT IFP _TUDGE MAG JUDGE

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

 

TONY ClMMINo §
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)
Plal`ntsz(s) )
V‘ § Civil Action No. 0117-CV-6071
cREDlT oNE BANK )
)
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Defendanl(s) )

SUMMONS IN A CIVIL ACTION

TOI (Defendant 's name and address) CREDIT ONE BANK
585 Pi|ot Road
Las Vegas, NV 89119

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff ’s attomey,
whose name and address are: |\/|ARCUS & ZEL|\/|AN LLC

1500 A||aire Avenue
Suite 101
Ocean, NJ 07712

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date; _

Signature of Clerk 0;‘ heputy Clerk

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(TYu°s section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and til/e, ifany)

was received by me on (dare)

1'| I personally served the summons on the individual at (p/ace)

 

011 (date) § OI‘

|:I l left the summons at the individual"s residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

on (dare) , and mailed a copy to the individual"s last known address; or

1-| I served the summons on (name ofindividual) , who is

 

designated by law to accept service of process on behalf of (name ofarganization)

 

 

01'1 (a'ate) ; OI'
Fl I returned the summons unexecuted because ; or
1-| Oth€l' (speczfv).'
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

 

Server ’s address

Additional information regarding attempted service, etc:

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

X
TONY Cll\/[MINO,
Civil NO; 0;l7-cv-60701
Plaintiff, COMPLAINT FOR
VIOLATIONS OF THE
TELEPHONE CONSUMER
PROTECTION ACT
-against-
DEMAND FOR JURY TRIAL
CREDIT ONE BANK
Defendant
X

 

Plaintiff TONY CIMMINO, (“Mt;f"), by and through his attorneys, Law Office
of Ross Abramowitz and Marcus & Zelman, LLC, brings this Complaint against the
Defendant CREDIT ONE BANK (hereinalter referred to as “Defendant”)_, respectfully sets
forth, complains and alleges, upon information and belief, the following:

INTRODUCTION/PRELIMINARY STATEMENT

l. Plaintiffs brings this action on their own behalf for damages and declaratory and
injunctive relief arising from the Defendant’s violation(s) under Title 47 of the
United States Code, §227 commonly known as the Telephone Consumer Protection
Act (TCPA) and Florida Statutes §559.55-559.785, a/ /a the “Florida Consumer
Collection Practices Act” (“FCCPA”).

2. The TCPA prohibits auto-dialed calls which are placed to a called party’s cellular
phone without that party’s consent Senator Hollings, the TCPA's sponsor,
described these auto-dialed calls as “the scourge of modern civilization They wake
us up in the morning; they interrupt our dinner at night; they force the sick and

elderly out of bed; they hound us until we want to rip the telephone out of the wall.”

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Osorl`O v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255-56 (l lth Cir. 2014), citing,
137 Cong_ Rec. 30,821 (1991).

3, In 1991, Congress responded to these abuses by passing the TCPA. In enacting the
TCPA, Congress made findings that telemarketing had become “pervasive due to
the increased use of cost-effective telemarketing techniques.” See, PL 102-243, §
2(1). “Residential telephone subscribers consider automated or prerecorded
telephone calls, regardless of the content or the initiator of the message7 to be a
nuisance and an invasion of privacy.” Id. § 2(10). The TCPA’s findings also reflect
Congress’s conclusion that “[i]individuals’ privacy rights, public safety interests,
and commercial freedoms of speech and trade must be balanced in a way that
protects the privacy of individuals and permits legitimate telemarketing practices.’7
Id. § 2(9). Consumers who receive these unauthorized calls thus have suffered a
distinct privacy-related interest, namely the “intentional intru[sion] . . . upon their
solitude or seclusion of their private affairs or concerns,” Intrusion Upon Seclusz'on,
Restatement (Second) of Torts § 652B (1977).

4. The FCCPA prevents debt collectors and persons, respectively, from engaging in

abusive, deceptive, and unfair collection practices

PARTIES
5. Plaintiff is a natural person who resides in Palm Beach County, Florida.
6. Defendant is a national bank with its headquarters located at 585 Pilot Road, Las

Vega, Nevada 891 19.

JURISDICTION AND VENUE

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7. The Court has jurisdiction over this matter pursuant to 28 USC §1331.
8. Venue is proper in this judicial district pursuant to 28 U.S.C. § l39l(b)(2).
ALLEGATIONS OF FACTS

9. Plaintiff repeats, reiterates and incorporates the allegations contained in the
preceding paragraphs with the same force and effect as if the same were set forth
at length herein

10. On information and belief, on a date better known to the Defendant, Defendant
began its campaign of communicating with via the use of an automated telephone
dialing system and prerecorded messages throughout the past four years by calling
Plaintiffs cellular telephone phone number of (561) 396-7594.

ll_ Upon information and belief, the purpose of the calls was in an attempt to collect a
debt from the Plaintiff

12. Plaintiff is the customary and sole user of the cellular phone number (561) 396-
7594_

13. The Defendant called from numerous phone numbers, including but not limited to
754-209-0992, 305-508-4784, 786-481-3439, 754-208-5139, 754-209-0946_

14. On or around January of 2017, Plaintiff answered a call from the Defendant and
told the Defendant to stop calling

15. Despite this_, the Defendant continued to call the Plaintiff with an automated
telephone dialing system and/or prerecorded message in an attempt to solicit
business

16. On or about February of 2017, Plaintiff again answered a call from the Defendant

and told the Defendant to stop calling

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17. On or about March 4, 2017, Plaintiff again told the Defendant to stop calling

18. On or about March 12, 2017, Plaintiff again told the Defendant to stop calling

19. On or about March 30, 2017, Plaintiff again told the Defendant to stop calling

20. Additionally, on many occasions Plaintiff would answer a call from the Defendant
and be left with dead air and nobody to speak with.

21. Despite all of this, the Defendant has continued to call the Plaintiff with an
automated telephone dialing system and/or prerecorded message

22. The calls were coming in while the Plaintiff was at work, at home, and late
evenings

23. The calls were and are continuing to be made several times a day, sometimes up to
six calls in a single day.

24. Defendant’s use of an automated telephone dialing system was indicated by the fact
that no customer service representative was on the line immediately when the
Plaintiff would answer a call from the Defendant, and because on occasion Plaintiff
Would hear a pre-recorded message when he answered

25. By placing auto-dialed calls to the Plaintiff s cell phone7 the Defendant violated 47
USC §227(b)(A)(iii) which prohibits using any automated telephone dialing system
or an artificial prerecorded voice to any telephone number assigned to a cellular
telephone service

26_ Plaintiff suffered actual damages because the Defendant’s calls caused the Plaintiff
to be deprived of the use of his cellular phone during the times that the Defendant
was calling, depleted the battery life of the cellular telephone, and by invading on

the Plaintiffs’ right to privacy and seclusion (the very harm that Congress sought to

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prevent).
The Defendant’s repeated calls further caused the Plaintiff to be harassed, stressed,
frustrated and annoyed. The Defendant’s repeated calls further interrupted the
Plaintiffs day and wasted the Plaintiffs time spent answering and otherwise
addressing these repeated phone calls
Defendant’s communication efforts attempted and/ or directed towards the Plaintiffs
violated various provisions of the TCPA, including but not limited to 47 USC
§227(b)(A)(iii).
As a result of Defendant’s violations of the TCPA, Plaintiff has been damaged and
is entitled to damages in accordance with the TCPA.

COUNT I - VIOLATIONS OF FCCPA §559.72( 71
Plaintiff repeats and incorporates by reference all of the above paragraphs of the
Complaint as though fully stated herein

The FCCPA §559.72(7) states:

“In collecting debts, no person shall . . . .

(7) Willfully communicate with the debtor or any member of her or his family
With such frequency as can reasonably be expected to harass the debtor or her or
his family, or willfully engage in other conduct which can reasonably be expected
to abuse or harass the debtor or any member of her or his family.”

The Defendant has on many occasions called Plaintiff by telephone directly,
multiple times a day, attempting to collect an alleged debt. By virtue of having to
handle debt collection calls to Plaintiff s cellular phone multiple times a day,
Plaintiff has been harassed and these calls have caused unnecessary strain,
burden, and emotional distress upon Plaintiff and Plaintiff s family

Defendant’s actions of calling Plaintiff continuously and regularly da yafter day,

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multiple times a day, reasonably can be expected to have the natural
consequences of harassing Plaintiff which was the intent of the Defendant in order
to elicit payment from Plaintiff for the Debt.
Defendant, through its agents, representative and/or employees acting within the
scope of their authority knowingly violated the FCCPA.
As a result of the above violations, Plaintiff is entitled to recovery for actual
damage, statutory damage of up to $1,000.00 per violation, together with
reasonable attorney’s fees and court costs.

COUNT II _ VIOLATIONS OF TCPA
Plaintiff repeats and incorporates by reference all of the above paragraphs of the
Complaint as though fully stated herein
The foregoing acts and omissions of Defendants constitute numerous and multiple
negligent violations of the TCPA, including but not limited to each and every one
of the above cited provisions of 47 U.S.C. § 227(b) el seq.
As a result of Defendant’s violations of 47 U.S.C_ § 227(b) et seq. Plaintiff is
entitled to an award of $500.00 for each and every negligent violation of the
TCPA pursuant to 47 U.S.C. § 227(b)3.
As a result of Defendant’s violations of 47 U.S.C_ § 227(b) et seq. Plaintiff is
entitled to an award of treble damages $1,500.00 for each and every knowing

and/or willful violation of the TCPA pursuant to 47 U.S.C. § 227(b)3.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully prays that judgment be entered against the

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Defendants as follows:

A. Statutory damage under the FCCPA;

B_ Actual damage under the FCCPA;

C. Reasonable attorney’s fees and costs under the FCCPA;

D. F or mandatory statutory damages of $500 each provided and pursuant to 47 USC

§227(c)(2)(G)(3)(B), for all calls placed to the Plaintiff s cellular phone;

E. Plaintiff requests enhanced trebled damages of $l,500 to be awarded to the

Plaintiffs per call, in accordance with the TCPA, for the Defendant’s willful

violations of the TCPA;

F. For any such other and further relief, as well as further costs, expenses and

disbursements of this action, as this Court may deem just and proper.

Dated: April 10, 2017

Respectliilly submitted,

/is/' Ross A brcrmr)w:`fz

The Injury Firm

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Fax: (954) 951-1000

Email; records@flinjuryfirm.com
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Phone: (732) 695-3282
Facsimile: (732) 298-6256

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Attorneys for Plaintiff

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DEMAND FOR TRIAL BY JURY

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
requests a trial by jury on all issues so triable

Dated: April 10, 2017
/s/ Ross Abramowilz
The Injury Firm
Ross Abramowitz, Esq. Bar ID #068104

